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IN THE UNITED sTATEs DISTRICT co r `“D` DC-
FoR THE WESTERN DISTRICT or rENNE §‘? 19 PH ,, 57

EASTERN DIVISION d ¥ m

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FoREsT covE MANOR, rNc., ) ` "‘"”‘L’KSON
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Plaimiff, )
)

vs. ) No. 04-1 119-wm

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vIcKi BUTLER, er ai., )
)
Defendant. )

 

ORDER GRANTING DEFENDANT VERNON’S
MOTION TO PROCEED INFORMA PA UPERIS
AND DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

Defendant Guy Randy Vernon has filed a motion to be allowed to proceed in this
matter in forma pauperis and a motion for the appointment of counsel. Defendant has
presented an affidavit which states that he receives 3850 - $900 per month in disability and
his wife earns $1200 per month. Defendant has approximately $80 in a savings account,
$3000 equity in his truck, and $4000 equity in his furniture and appliances Defendant’s
right to $20,000 in a fund controlled by Plaintiff, Defendant’s former employer, appears to
be disputed, and he does not have access to these funds.

Defendant makes a monthly payment of $1190 to the Chapter 13 Trustee and a $50
monthly credit card payment His utility and phone bills per month total $300. Beginning

in June 2005, Defendant’s wife will begin paying $300 per month for health insurance for

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her and their minor child, and Defendant will pay $80 per month for Medicare coverage.

The in forma pauperis statute authorizes courts to allow "the commencement,
prosecution or defense of any suit, action or proceeding, civil or criminal, or appeal therein,
without prepayment of fees and costs or security therefor, by a person who makes affidavit
that he is unable to pay such costs or give security therefor." 28 U.S.C. § 1915(a). Because
Defendant’s expenses exceed his income, Defendant’s motion to proceed in forma pauperis
is GRANTED.

Defendant also seeks the appointment of counsel. The motion is DENIED for the
following reasons

Section 1915(d) of Title 28 provides as follows:

The court may request an attorney to represent any such person unable to

employ counsel and may dismiss the case if the allegation of poverty is untrue,

or if satisfied that the action is frivolous or malicious
28 U.S.C. § 1915(d). While a court has a duty to appoint counsel for an indigent criminal
defendant in accordance with his constitutional right to counsel, the court in a civil

proceeding has only the statutory authority to “request” counsel for a “person unable to

employ counsel.” Bunton v. Englem§ge, 557 F. Supp. l, 4 (E.D. Tenn. 1981); sj_e Moss v.

 

Thomas, 299 F.2d 729, 730 (6"‘ Cir. 1962). The court will exercise this statutory power only

 

in exceptional cases Bunton, 557 F. Supp. at 4. However, “§ l915(d) does not authorize
the federal courts to make coercive appointments of counsel” to represent indigent civil

litigants Mallard v. United States District Court for the Southern District of Iowa, 490 U.S.

 

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296, 3 10 (1989). Generally, a court will only appoint counsel in exceptional circumstances
Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn. 1977).

A review of the complaint indicates that the case is not so complex that the court
should exercise its discretion to appoint counsel at this time. Defendant does not appear to
have more exceptional circumstances than other litigant defending a civil action. w M
M§J 469 F. Supp. 748, 751 (E.D. Tenn. 1977), Li‘d_, 595 F.Zd 1227 (1979).
Consequently, the court DENIES Defendant's motion for the appointment of counsel.

IT IS SO ORDERED.

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ANWS D. TODD
UNITED STATES DISTRICT JUDGE

MM§MF

DATE '

 

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This notice confirms a copy of the document docketed as number 45 in
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Honorable J ames Todd
US DISTRICT COURT

